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                      UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF PENNSYLVANIA


  RYAN COPLEY, PAT MCGEENEY, JOE                     Case No. 2:20-CV-01442
  TILLEY,

                       Plaintiffs,                   Judge Christy Criswell Wiegand

                       v.

  EVOLUTION WELL SERVICES
  OPERATING LLC.,

                         Defendant.



 PLAINTIFFS’ MOTION FOR CONDITIONAL CERTIFICATION OF COLLECTIVE
  CLASS AND JUDICIAL NOTICE PURSUANT TO SECTION 216(b) OF THE FLSA

        AND NOW, come Plaintiffs, by and through their undersigned counsel, and move this

Court to approve the sending of notice pursuant to Section 216(b) of the Fair Labor Standards Act

of 1938 (“FLSA”), as amended, 29 U.S.C. § 201 et seq. to the following group of potential

plaintiffs:

               All current and former rotational non-exempt employees who were
               employed by Defendant on or after August 25, 2017 and who elect
               to opt-in to this action pursuant to the FLSA, 29 U.S.C.§ 216(b) (the
               “FLSA Collective”).

        This Motion incorporates Plaintiffs’ Memorandum of Law in Support of Motion for

Conditional Certification of Collective Class and Judicial Notice Pursuant to Section 216(b) of the

FLSA, including Exhibits, filed concurrently herewith.

        WHEREFORE, Plaintiffs respectfully request that this Court enter an Order:

         1)    Promptly authorizing this case to proceed as a collective action;

         2)    Directing Defendant to product a list, in electronic and importable format, of all



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             Hitch Employees who worked for Defendant during the applicable statutory

             period, including their name, job title, address, e-mail address, mobile telephone

             number, dates of employment, date of birth, and last four digits of their Social

             Security number;

       3)    Directing the parties to meet and confer regarding a proposed notice to the members

             of the collective; and

       4)    Authorizing the issuance of the parties’ proposed notice if agreed upon, or if not

             agreed upon after having met and conferred, the Plaintiffs’ proposed notice, to be

             mailed, e-mailed, and texted to all potential opt-in plaintiffs, within ten days of the

             Court’s Order.

      A proposed Order is attached.


Dated: November 17, 2021

                                                    Respectfully Submitted,


                                                    /s/ Edwin J. Kilpela
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                                                    Counsel to Plaintiffs

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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 17th day of November, 2021, a true and

correct copy of the foregoing document was filed with the Court utilizing its ECF system, which

will send notice of such filing to all counsel of record.


                                                       /s/ Edwin J. Kilpela
                                                       Edwin J. Kilpela




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